Case 23-12825-MBK            Doc 106      Filed 04/10/23 Entered 04/10/23 19:59:29                    Desc Main
                                         Document     Page 1 of 9



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 Counsel for Various Mesothelioma Talc Claimants


                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW JERSEY

 ____________________________________
  In re:                                                              Chapter 11

  LTL MANAGEMENT LLC,                                                 Case No. 23-12825 (MBK)

                   Debtor.                                            Judge: Michael B. Kaplan
 ____________________________________

      MESOTHELIOMA CLAIMANTS’ JOINDER TO KAZAN LAW CLAIMANTS’
  OPPOSITION TO DEBTOR’S MOTION FOR AN ORDER: (1) AUTHORIZING IT TO
     FILE A LIST OF THE TOP LAW FIRMS WITH TALC CLAIMS AGAINST THE
  DEBTOR IN LIEU OF THE LIST OF THE 20 LARGEST UNSECURED CREDITORS;
  (2) APPROVING CERTAIN NOTICE PROCEDURES FOR TALC CLAIMANTS; AND
                  (3) APPROVING THE FORM AND MANNER OF
                  NOTICE OF COMMENCEMENT OF THIS CASE

         The below law firm signatories herein (jointly “Mesothelioma Claimants Counsel”), 1 on

 behalf of their various talc mesothelioma claimants (“Mesothelioma Claimants”) through their

 undersigned counsel, hereby submit this joinder objection to the objection filed by Kazan Law on

 behalf of its Claimants (“Kazan Claimants Objection”), objecting to the motion of Debtor LTL

 Management LLC (“Debtor”) for an Order Authorizing Debtor to File a List of the Top Law Firms

 With Talc Claims Against the Debtor in Lieu of the List of the 20 Largest Unsecured Creditors

 [Dkt. 73.], which is incorporated herein by reference. For the reasons cited in the Kazan Claimants



         1
            The Mesothelioma Claimants Counsel collectively represent over a thousand Mesothelioma Claimants, both
 filed and unfiled.


                                                        1
Case 23-12825-MBK             Doc 106       Filed 04/10/23 Entered 04/10/23 19:59:29                       Desc Main
                                           Document     Page 2 of 9



 Objection, the Mesothelioma Claimants respectfully request that this Court deny Debtor’s motion

 authorizing it to file a list of “Top Law Firms” and instead order Debtor to submit a list pursuant

 to Rule 1007(d), and for such other relief as to which Mesothelioma Claimants may be entitled.

          The Mesothelioma Claimants further object to Debtor’s assertion that “the proposed plan

 of reorganization agreed to by thousands of claimants” being “in the best interest of all parties.”

 [Debtor’s Statement Regarding Refiling of Chapter 11 Case. Dkt. 3 at 9.] There is no support

 provided for the assertion that 60,000 “claimants” have supported the Debtor’s proposed plan. 2

 Moreover, the Mesothelioma Claimants were not involved in, do not support, and assert it is not

 in their best interest to extinguish their 7th Amendment rights to a trial by jury. 3 The Mesothelioma

 Claimants reserve their rights to modify or supplement this Joinder as necessary and appropriate.



 Dated: April 10, 2023

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           Debtor’s Statement Regarding Refiling of Chapter 11 Case. [Dkt. 3 at 2.]
          3
           Furthermore, the jurisdictional question of good faith is independent of, and precludes consideration of, the
 Debtor’s claim that its proposed plan is in the best interests of the creditors. In re SGL Carbon Corp., 200 F.3d 154,
 159 & n. 8 (3rd Cir. 1999).


                                                            2
Case 23-12825-MBK   Doc 106    Filed 04/10/23 Entered 04/10/23 19:59:29   Desc Main
                              Document     Page 3 of 9



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                                            3
Case 23-12825-MBK   Doc 106    Filed 04/10/23 Entered 04/10/23 19:59:29   Desc Main
                              Document     Page 4 of 9




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                                            4
Case 23-12825-MBK   Doc 106    Filed 04/10/23 Entered 04/10/23 19:59:29   Desc Main
                              Document     Page 5 of 9



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                                            5
Case 23-12825-MBK   Doc 106    Filed 04/10/23 Entered 04/10/23 19:59:29   Desc Main
                              Document     Page 6 of 9



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                                            6
Case 23-12825-MBK   Doc 106    Filed 04/10/23 Entered 04/10/23 19:59:29   Desc Main
                              Document     Page 7 of 9



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                                            7
Case 23-12825-MBK   Doc 106    Filed 04/10/23 Entered 04/10/23 19:59:29   Desc Main
                              Document     Page 8 of 9



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                                            8
Case 23-12825-MBK   Doc 106    Filed 04/10/23 Entered 04/10/23 19:59:29   Desc Main
                              Document     Page 9 of 9



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                                            9
